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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                                       CASE NUMBER:

GOOD SHEPHERD MINISTRIES
INTERNATIONAL                                             5:23−cv−01694−SSS−AGR
                                        PLAINTIFF(S)

       v.
JULY AND RIPPA LLC , et al.
                                                           NOTICE TO FILER OF DEFICIENCIES IN
                                                                ATTORNEY CASE OPENING
                                     DEFENDANT(S).




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See Local Rule 83−7.




Other Error(s):




                                           Clerk, U.S. District Court

Dated: August 23, 2023                     By: /s/ Geneva Hunt geneva_hunt@cacd.uscourts.gov
                                              Deputy Clerk




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